          Exhibit 68




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             IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
         CIVIL ACTION NO. 1:14-CV-00954-LCB-JLW

STUDENTS FOR FAIR
ADMISSIONS, INC.,
                           Plaintiffs,
     vs.
UNIVERSITY OF NORTH
CAROLINA, et al.,
                           Defendants.




                 _______________________________
                         AMENDED DEPOSITION
                                 OF
                           STEPHEN FARMER
    THIS DEPOSITION CONTAINS HIGHLY CONFIDENTIAL AND
 PROPRIETARY INFORMATION AND IS SUBJECT TO A PROTECTIVE
   ORDER RESTRICTING PUBLIC DISCLOSURE OF ITS CONTENTS
             _______________________________



TAKEN AT THE OFFICES OF:
UNIVERSITY OF NORTH CAROLINA AT CHAPEL HILL
222 East Cameron Avenue
110 Bynum Hall
Chapel Hill, NC 27514


                               06-28-17
                               8:24 A.M.
                    __________________________
                         Michael B. Lawrence
                           Court Reporter

                    Civil Court Reporting, LLC
                            P.O. Box 1146
                        Clemmons, NC 27012
                          (336) 406-7684



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   1                           The witness, STEPHEN FARMER, being
   2          first duly sworn to state the truth, the whole
   3          truth, and nothing but the truth, testified as
   4          follows:
   5                   (8:24 a.m.)
   6                                    EXAMINATION
   7          BY MR. STRAWBRIDGE:
   8                   Q.      Good morning, Mr. Farmer.      My name is
   9          Patrick Strawbridge.         I am a lawyer with the law
 10           firm Consovoy McCarthy Park and we represent
 11           Student for Fair Admissions, Incorporated, in this
 12           case.
 13                            How are you doing today?
 14                    A.      I'm fine, Mr. Strawbridge.      How are you?
 15                    Q.      Good.   Just for the record can you go
 16           ahead and state your name and your business
 17           address for the record?
 18                    A.      Sure.   Stephen Farmer, 152 Country Club
 19           Road in Chapel Hill, North Carolina, the Office of
 20           Undergraduate Admissions.
 21                    Q.      Okay.   And what is your ti -- do you
 22           have a title at UNC?
 23                    A.      I do.
 24                    Q.      And what is your title?
 25                    A.      Vice Provost for Enrollment and

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   1          Undergraduate Admissions.
   2                   Q.      All right.   And that makes you
   3          essentially the head of the Admissions Office?
   4                   A.      It does.
   5                   Q.      I want to talk a little bit about some
   6          of the ground rules today.           I'm sure that your
   7          attorneys have gone over these with you.
   8                           I'll just start by asking have you ever
   9          been deposed before?
 10                    A.      I've not.
 11                    Q.      Okay.   Have you ever given testimony in
 12           court before?
 13                    A.      I don't think so.    Maybe once 25 years
 14           ago, but I don't know for sure.
 15                    Q.      On some matter unrelated to UNC
 16           admissions?
 17                    A.      Yes.
 18                    Q.      Okay.   So obviously you can see that we
 19           have a reporter here who's going to be creating a
 20           transcript of the record and recording the
 21           proceedings.         It's important as part of that that
 22           I get a verbal response from you to each of my
 23           questions, yes or no.
 24                    A.      I understand.
 25                    Q.      We need to do our best to avoid

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   1                   A.      Well, I'm sorry.   He -- so I think his
   2          title changed the year before.
   3                   Q.      Right.
   4                   A.      I think his job changed in 2003 and I --
   5          again, I think.           And so he retained that role.             We
   6          still had two senior associate directors in the
   7          Admissions Office for a year because he was still
   8          the admissions director.          His office was still in
   9          Jackson Hall, which is where the Admissions Office
 10           is located.
 11                            And then after, I think it was a year,
 12           he asked me to take on the role of the admissions
 13           director.         He moved his office over to Vance or
 14           Pettigrew, which is -- at the time it was in the
 15           bottom part of the building where the Office of
 16           Scholarships and Student Aid is located.                And when
 17           he moved and we changed the title, the Admissions
 18           Office had a different director and I was the
 19           director.
 20                    Q.      And did your responsibilities change at
 21           the same time your title changed?
 22                    A.      Yes.
 23                    Q.      Okay.    What were your responsibilities
 24           -- how did your responsibilities change?
 25                    A.      I became responsible for all of the work

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   1          of the Office of Admissions.
   2                   Q.      Okay.   At that time did you start
   3          reading files?
   4                   A.      I'd actually started reading files, I
   5          think, the year before.
   6                   Q.      Okay.   And how come that change took
   7          place?
   8                   A.      We needed other people to read.          I think
   9          we had made some -- the office had made some
 10           improvements in its reading process and some
 11           changes in its reading process that I had helped
 12           Jerry and I'd helped Barbara think through.                   So I
 13           had begun reading, I think it was a year earlier.
 14                    Q.      And did you have particular regions or
 15           -- or areas of responsibility with respect to the
 16           files that you were charged with reading?
 17                    A.      No, not that I remember.
 18                    Q.      It was just kind of some random
 19           assignment?
 20                    A.      Yeah, I mean -- yeah.
 21                    Q.      And do you know at that point in time
 22           how many files a year you were reading
 23           approximately?
 24                    A.      I don't.   I -- probably fewer than I was
 25           reading at Virginia but I -- I can't really

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   1          at higher rates than others.
   2                           So for example, resident students as a
   3          group yielded higher rates than nonresident
   4          students.         And within resident students -- and I
   5          can't remember what's in the model now.               Students
   6          who have stronger test scores yield at lower rates
   7          than people who have lower test scores.               And
   8          students who apply early yielded at different
   9          rates from those who apply late.            And students who
 10           were underrepresented historically have yielded in
 11           different rates from those who are not.
 12                            So the reason why all those things are
 13           built in the model is just that the Odum Institute
 14           person took a look at the data and said if you're
 15           trying to predict with more accuracy who's going
 16           to show up, take these things into account in your
 17           cells.
 18                    Q.      When you say underrepresented, are you
 19           referring to underrepresented ethnicities?
 20                    A.      Yes, I am.
 21                    Q.      What is an underrepresented ethnicity at
 22           UNC?
 23                    A.      Here, students who identify themselves
 24           as African American or as American Indian or as
 25           Hispanic or Latino or Latina.

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   1                   A.      I'm sorry.   I can't think of any.
   2                   Q.      (Mr. Strawbridge)    Why does UNC use race
   3          as a factor in its admission decisions?
   4                   A.      Because we want to enroll a class of
   5          students here who through their talent and their
   6          diversity will help us achieve our mission and
   7          help us provide the educational benefits of
   8          diversity to students and for that matter to
   9          faculty members.
 10                    Q.      And what is it about race that provides
 11           those benefits?
 12                    A.      It's not just race that provides those
 13           benefits.
 14                    Q.      But my question is what is it about race
 15           that provides those benefits?
 16                    A.      The fact that -- I understand.         I was
 17           just making the point that it's not just race.                      I
 18           think race is complicated.           I think race is
 19           difficult to understand.          I think race expresses
 20           itself to a greater or lesser extent from
 21           individual to individual.
 22                            So for all those reasons I think that
 23           the reason why race is significant and our
 24           providing the benefits of diversity is complicated
 25           and it varies quite a bit and it varies over time.

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   1          race or ethnicity is complicated and it's not as
   2          simple as checking a box.
   3                   Q.      (Mr. Strawbridge)   But the answer is
   4          yes, you do report results based on the ethnicity
   5          that people -- that candidates identify themselves
   6          by.
   7                                MR. SCUDDER:   Objection.       The
   8          answer -- the answer stands on the record.
   9                   A.      Among many other ways of describing the
 10           people who have chosen to come here, yes.
 11                    Q.      (Mr. Strawbridge)   And applicants are --
 12           readers are instructed that they can take into
 13           account the entire application file, correct?
 14                    A.      They are.
 15                    Q.      And the application file that's made
 16           available to the readers includes the box that's
 17           checked with respect to the racial identity to the
 18           extent that information's provided.
 19                    A.      It includes what the student has told us
 20           about the student's race or ethnicity.
 21                    Q.      Nothing prohibits readers from taking
 22           that information into account in addition to
 23           everything else in the application file.
 24                    A.      They're expected to take into account
 25           everything in the file and ---

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   1                   Q.      And do they ---
   2                   A.      --- and they may take into account the
   3          student's race or ethnicity as the student has
   4          described it to us.        And students describe it in
   5          complicated ways actually.         You know, it's
   6          interesting.
   7          (HIGHLY CONFIDENTIAL PORTION BEGINS ON PAGE 62)
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   1          (CONTINUATION OF TESTIMONY)
   2                   A.      So students tell us a lot about their
   3          backgrounds and our readers may take those things
   4          into account when they're making decisions, as
   5          long as they're taking all the other things they
   6          say into account as well.
   7                   Q.      I think you testified that -- that the
   8          purpose of taking race into account is to ensure
   9          that the University achieves certain benefits that
 10           are associated with diversity.           Is that correct?
 11                    A.      Yes, and I would add, as in the last two
 12           examples that I gave, I think students tell us
 13           things about themselves and sometimes the things
 14           that they tell us about themselves include things
 15           that have to do with their -- their race or their
 16           ethnicity.        And so another reason why we -- we
 17           feel like we at least have to listen to students,
 18           is that we feel that we owe them that.
 19                    Q.      Is there a particular level of racial
 20           diversity that the University has decided is
 21           required to achieve the benefits associated with
 22           racial diversity?
 23                    A.      What do you mean by particular level?
 24                    Q.      Is there a minimum amount of racial
 25           diversity that's necessary to achieve those

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   1          benefits?
   2                   A.      That's a complicated question.         I don't
   3          know.          The University has talked pretty
   4          consistently over time and especially since 2003
   5          about wanting to make sure that we've achieved
   6          critical masses particularly of underrepresented
   7          students.         Again because their numbers compared to
   8          the population are smaller and they are
   9          technically speaking, by the definition,
 10           underrepresented here.
 11                            The notion of critical mass is a
 12           complicated one.         You know, I don't think it can
 13           be defined necessarily in terms of the number.                      I
 14           think the idea of critical mass, I mean here
 15           anyway, the way that we've talked about it is that
 16           the point of critical mass is to make sure that
 17           every student at the University has the benefit of
 18           studying alongside others who can help them grow,
 19           who can -- can provide the educational benefits of
 20           diversity.         So that's one aim of critical mass.
 21                            But the other is to make sure that the
 22           students within the groups whose critical masses
 23           we're talking about feel at home and feel
 24           confident in being who they are as individuals
 25           rather than feeling as though they're always being

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   1          expected to be exemplars or representatives or
   2          spokespeople for the group.
   3                           So the conversation here about how much
   4          we need has focused on whether our students are
   5          having a good experience here, whether they're
   6          able to be who they are, whether they're able to
   7          provide for their classmates the things that their
   8          classmates need if we're going to do right by them
   9          and whether the classmates are leaving here better
 10           prepared for the world that they'll be entering.
 11                    Q.      So how do you measure those -- how do
 12           you measure critical mass?
 13                    A.      It's not easy.     I don't know that anyone
 14           has figured out perfectly how to measure critical
 15           mass.
 16                    Q.      How does UNC ---
 17                    A.      But I think ---
 18                                 MR. SCUDDER:     Let him -- let him
 19           finish.          Go ahead, Steve.
 20                    A.      I think, if by assess -- if by measured
 21           you mean assess, then I think we're trying all the
 22           time to assess critical mass.            And I think people
 23           are thinking about critical mass.
 24                            Students here, in my experience anyway,
 25           talking with them and reading the newspaper and

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   1          your time as director of admissions that there was
   2          a particular result of the climate survey that was
   3          tied to the determination as to whether the
   4          University had achieved critical mass.
   5                                MR. SCUDDER:   Object to the form.
   6                   A.      You know, I remember with the 2005
   7          survey a group of people across campus affirmed
   8          the goal of the University's continuing to try to
   9          secure critical masses of different populations of
 10           students, but I don't know what led to that
 11           affirmation and that goal or what survey results
 12           that group may or may not have viewed.
 13                    Q.      Is there an official definition of
 14           critical mass at UNC?
 15                                 MR. SCUDDER:   Object to the form.
 16                    A.      I don't know what you mean by official
 17           definition.
 18                    Q.      (Mr. Strawbridge)   If someone asked you
 19           what -- what does critical mass mean, is there any
 20           written document you can refer them to that has
 21           the UNC's definition of critical mass?
 22                    A.      I don't know.
 23                    Q.      All right.
 24                                 MR. SCUDDER:   Let's take a break
 25           after the next question or two.

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   1          were asking me.
   2                   Q.      Yeah, and now to make sure that we
   3          understand, my question for you is, do you draw a
   4          distinction between the number of students
   5          sufficient to obtain critical mass versus the
   6          number of students sufficient to obtain the
   7          educational benefits of racial diversity?
   8                   A.      No.
   9                   Q.      Those things are the same to you?
 10                    A.      Well, the reason -- well -- well, let me
 11           answer the question that you asked, and I think --
 12           would you go back to your original question?
 13                    Q.      The -- the original question was whether
 14           or not there was a different answer with respect
 15           to your ability to provide an opinion as to
 16           whether 5 percent of underrepresented minorities
 17           would be sufficient for people to not feel like
 18           they were spokespeople for their race.
 19                    A.      Uh-huh (yes).
 20                                  MR. SCUDDER:   Object to the form.
 21           Go ahead.
 22                    A.      I -- I don't know.    You know, I think
 23           part of the reason why I don't know is that I
 24           think people's -- students' reaction to
 25           circumstances are different.           We'd have to have a

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   1          them.
   2                   Q.      And when you say where we are, do you
   3          mean with respect to racial diversity?
   4                               MR. SCUDDER:    Object to the form.
   5                   A.      I mean broadly speaking.     I mean the
   6          quality of the class, the many different kinds of
   7          diversity that are incorporated within the class.
   8                   Q.      (Mr. Strawbridge)   So you consider the
   9          current level of racial diversity to be -- to be
 10           sufficient to achieve UNC's goals?
 11                                MR. SCUDDER:    Object to the form.
 12                    A.      I think the current level is the current
 13           level.
 14                    Q.      (Mr. Strawbridge)   Do you -- can you say
 15           whether or not it is sufficient to achieve the
 16           educational benefits of diversity?
 17                                MR. SCUDDER:    Object to the form.
 18           Asked and answered.
 19                    A.      I -- I think the current level was the
 20           current level.        And again, as I tried to say, I
 21           think we explain to people who's in the class.
 22           Faculty members conduct their classes.              They
 23           conduct assessments of their learning and there's
 24           a feedback loop that goes around and around year
 25           in and year out about how we're doing.

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   1                   A.      I think the answer to the question might
   2          depend on who you ask on campus.
   3                   Q.      Is -- is there anybody who's opinion
   4          would actually control that decision for the
   5          University?
   6                               MR. SCUDDER:     Object to the form.
   7                   A.      Which decision are you speaking of?
   8                   Q.      (Mr. Strawbridge)    The decision as to
   9          whether or not you are succeeding or failing in
 10           providing the educational benefits of racial
 11           diversity.
 12                    A.      I -- I don't know.
 13                    Q.      If UNC stopped using race today, do you
 14           know what effect would be on racial diversity in
 15           the admissions process?
 16                    A.      I think we'd have a less racially and
 17           ethnically diverse class than we did.
 18                    Q.      And why do you think that?
 19                    A.      I think that we'd enroll fewer
 20           underrepresented students, for example, than we do
 21           today.
 22                    Q.      And you think that, even if UNC retained
 23           its holistic process otherwise?
 24                    A.      I think so.
 25                    Q.      And why is that?

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   1          course of evaluating a student it's hard to
   2          determine which one thing is decisive.              I mean,
   3          there's the whole of the student and it's hard to
   4          pull any one part of the student out and say that
   5          this was the thing that made the difference or
   6          that was the thing that made the difference.
   7                   Q.      I guess I'm just trying to reconcile
   8          your testimony that if UNC were to stop using
   9          race, you expect there would be a drop in racial
 10           diversity with -- with your answer just now.
 11           Either -- either you think it makes a difference
 12           that would lead to a substantial drop in racial
 13           diversity or you don't.          So do you think it makes
 14           a difference in a substantial number of admission
 15           decisions, the race of the applicant?
 16                                MR. SCUDDER:    Objection to the
 17           form.
 18                    A.      I think I -- I think I answered your
 19           question.        You know, in the course of an
 20           evaluation of individual people as they come to
 21           us, race does make a difference in the decisions
 22           that we make.
 23                    Q.      (Mr. Strawbridge)   And do you know how
 24           many decisions it makes a difference?
 25                    A.      I don't know.

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   1          control feedback from senior people who've been
   2          around awhile.
   3                   Q.      Do students ever -- do -- do -- are
   4          readers instructed that -- that one of the goals
   5          of the Admissions Office is to -- is to increase
   6          the number of students who strengthen diversity?
   7                   A.      We've had the goal of increasing the
   8          number of students who strengthen diversity or
   9          strengthening our recruitment of people who
 10           strengthen diversity over time.
 11                    Q.      And does strengthen diversity often used
 12           as -- as reference to racial diversity?
 13                                MR. SCUDDER:    Object to the form.
 14                    A.      It's never used exclusively as a
 15           reference to racial diversity.
 16                    Q.      Is it sometimes understood by the
 17           admissions officers to refer to racial diversity?
 18                                MR. SCUDDER:    Object to the form.
 19                    A.      I hope it's never understood to refer
 20           only to racial or ethnic diversity.            I also hope
 21           that it's understood to include racial and ethnic
 22           diversity.
 23                    Q.      (Mr. Strawbridge)   Is URM -- are URMs
 24           often identified as a priority group for students
 25           who strengthen diversity in the Admissions Office?

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   1          developed a standard report that she ran I think
   2          every two weeks or maybe every month and sent
   3          around to different people.           I think she sent it
   4          around to staff members and she had sent around it
   5          to a couple of others.
   6                           So ---
   7                   Q.      Let me just ask a question.
   8                   A.      Sure.
   9                   Q.      When these Core reports were created
 10           among the disaggregated data that was made
 11           available, was that -- did that include the race
 12           and ethnicity of the applicants?
 13                    A.      Yes.    It included the race or ethnicity
 14           information that applicants had provided to us on
 15           their applications.
 16                    Q.      And when the Core report was created,
 17           did it provide the number of students basically
 18           who had applied who fell into these disaggregated
 19           categories?
 20                    A.      Yes.    I believe it did.
 21                    Q.      Did it also include the number of
 22           students which had been admitted so far?
 23                    A.      Yes.    I think it did.
 24                    Q.      Okay.    And that ---
 25                    A.      I think maybe also the number who --

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   1                   A.      Melissa, Florio, Barbara Polk, I think,
   2          Jen Kretchmar, I think.          And I think that's it.
   3                   Q.      (Mr. Strawbridge)     And prior to this --
   4          in 2006, the Core reports were going around, who
   5          received the Core reports?
   6                   A.      I think Jen sent them to everybody on
   7          staff.
   8                   Q.      Including all the readers?
   9                   A.      I think so, yes.     But I don't know.
 10                    Q.      And after this adjustment was made and
 11           these reports were being automatically generated
 12           in 2011, were the reports -- was the information
 13           that was available in the reports available to
 14           anyone other than those who received it?
 15                    A.      I think -- what do you mean by
 16           available?
 17                    Q.      Was there some way to go online and look
 18           up that information on the live databases as
 19           opposed to looking at the report that was put in
 20           your inbox?
 21                    A.      I don't know.
 22                    Q.      Okay.   All right.    Do you know whether
 23           that information was made available on request to
 24           readers during the admissions process?
 25                    A.      I don't know.

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   1                                  MR. SCUDDER:    The dashboard report?
   2                   A.      Well, it's the -- sometimes you refer to
   3          it -- we referred to it as a version of the Core
   4          report.          Sometimes it was, unless -- so perhaps I
   5          should ask you, do you have a copy of the
   6          dashboard report that you'd like to show me so
   7          that I can make sure that I'm answering your
   8          question accurately?
   9                   Q.      (Mr. Strawbridge)      I'm happy to show you
 10           a document, but my real question is just do you
 11           know what was on the dashboard that was available
 12           to the readers?
 13                    A.      You're asking me to -- this was four
 14           years ago, five years ago.             I can't remember
 15           everything that was on reports that we ran four to
 16           five years ago.          I'm sorry.
 17                    Q.      At some point was there a decision made
 18           to remove race or ethnicity information with
 19           respect to how the applications process was
 20           progressing from being available to the readers of
 21           the applications?
 22                    A.      Yes.
 23                    Q.      And when was that decision made?
 24                    A.      I think we made that decision in fall of
 25           2015.

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   1                   Q.      So after the lawsuit was filed in this
   2          case.
   3                   A.      In fall of 2015.
   4                   Q.      Do you know when the lawsuit was filed
   5          in this case?
   6                   A.      I think about three years ago.
   7                   Q.      In the fall of 2014?    Is that your
   8          recollection?
   9                   A.      I accept your statement of it.
 10                    Q.      Okay.
 11                    A.      I'm sure you know.
 12                    Q.      Was the removal of race and ethnicity
 13           done after consultation with counsel?
 14                    A.      We spent so much time with counsel.
 15                                 MR. SCUDDER:    Don't reveal the
 16           content of anything we've spoken about.
 17                    Q.      (Mr. Strawbridge)    Do you know?
 18                    A.      I don't think we needed that information
 19           to do our work, so we took it off.
 20                    Q.      Then if you didn't need that information
 21           to do your work, why was it included for the years
 22           prior?
 23                    A.      I think because it was on the template
 24           that we originally borrowed from another
 25           institution.

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   1          how you might achieve diversity by using these in
   2          lieu of using race?
   3                   A.      We used these in addition to using race.
   4          We wanted to see the difference that they would
   5          make in addition to using race.
   6                   Q.      When did you actually first analyze what
   7          you could replace the use of race with?
   8                   A.      You mean in admissions specifically?
   9                   Q.      Yes.
 10                    A.      Okay.   Because again the race neutral
 11           strategies document from the Department of
 12           Education ---
 13                    Q.      I'm not asking you about that document.
 14           I'm asking you what you did.            Please confine your
 15           answer to my questions.           We have limited time,
 16           Mr. Farmer.         I don't need to know what the
 17           document said.           I'm asking when was the last time
 18           you looked at an alternative.
 19                    A.      The last time?
 20                                   MR. SCUDDER:   Object to the form.
 21                    Q.      (Mr. Strawbridge)     The first time.          I'm
 22           sorry.
 23                    A.      I think it was about in 2007.        You know,
 24           I remember taking a look or pulling data from -- I
 25           think the system we were using at the time was

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   1          Admission Pros and, you know, we were working -- I
   2          was working with the big data set.            There were a
   3          lot of students listed there and we had limited
   4          information about them, but we did have
   5          information on -- I mean, I talked about a little
   6          bit of it earlier, race, ethnicity, first
   7          generation college, whether somebody had applied
   8          with a fee waiver.        I think we used the coll -- I
   9          can't remember exactly, but I think we used the
 10           College Board codes to sort of determine who
 11           attended free and reduced price lunch, high
 12           schools -- or high schools that had high
 13           percentages of free and reduced price lunch.
 14                            And so we tried that -- I tried to see
 15           if there were factors in those data that we could
 16           apply mechanically to other admissions
 17           credentials, like top 10 percent, like GPA, like
 18           our ratings for program and performance that would
 19           yield a class with similar diversity and also
 20           similar academic credentials.          That was in 2007.
 21                    Q.      And what was your standard for
 22           similarity?        How close did it have to be?
 23                    A.      I can't remember.
 24                    Q.      Do you know if it was, as you've
 25           testified today, had to be equal to what you were

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   1          currently doing?
   2                   A.      I honestly can't remember.
   3                   Q.      Okay.   Is it possible that you were --
   4          you were trying to see if it hit exactly what you
   5          were doing or better?
   6                   A.      I don't know how to address the
   7          possibility.         I think anything is possible.            I
   8          said I can't remember.
   9                   Q.      Do you know whether or not -- strike
 10           that.
 11                            Are those formulas still available to
 12           you today?
 13                    A.      I -- I think there's a spreadsheet
 14           probably somewhere on my hard drive that shows a
 15           summary of the information or some data of the
 16           information, but I don't know that I could
 17           reproduce that study today.          It's probably that
 18           we're working out of a different information
 19           system today than we were then.
 20                    Q.      Other than -- other than an electronic
 21           spreadsheet, do you create any work product
 22           reflecting your analysis of those formulas?
 23                    A.      Not at the time, no.
 24                    Q.      Did you discuss it with anyone else in
 25           the office?

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   1                   A.      I think I did, yes.
   2                   Q.      Who?
   3                   A.      I don't recall, but I -- I would think I
   4          discussed them.          I -- but I don't -- I don't have
   5          a specific recollection of talking about it with
   6          an individual person.
   7                   Q.      Do you know whether those results were
   8          ever shared with the Faculty Advisory Committee on
   9          Undergraduate Admissions?
 10                    A.      I don't remember.
 11                    Q.      Do you know whether those results were
 12           ever actually shared with the Office of Civil
 13           Rights ---
 14                    A.      I ---
 15                    Q.      --- or the Department of Education?
 16                    A.      I don't remember specifically.         You
 17           know, if -- I think the OCR complaint was really
 18           focusing more on comprehensive review, but I may
 19           be mis-remembering there.
 20                    Q.      So you wouldn't know if the actual
 21           results in your analysis was provided to OCR?
 22                    A.      I can't remember.
 23                    Q.      Okay.   After -- besides that, what was
 24           the next time that you actually considered race-
 25           neutral strategies that could be used as an

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   1          of them when we're making decisions about
   2          individual students.
   3                   Q.      (Mr. Strawbridge)   And notwithstanding
   4          that individual decision process and the range of
   5          SAT scores you admit, you still consider a average
   6          drop of 50 points to be a significant drop for
   7          purposes of analyzing a race-neutral alternative?
   8                   A.      Across a population of 4,000 or 41 or
   9          4200 hundred people, yeah.
 10                    Q.      Even though -- even though UNC does not
 11           seek to maximize the average SAT score of the
 12           class?
 13                    A.      We want capable students who are going
 14           to succeed here and thrive.
 15                    Q.      Do you think you've ever admitted some
 16           students who weren't capable of thriving at UNC?
 17                    A.      We've never knowingly admitted anyone we
 18           thought incapable of thriving at UNC.
 19                    Q.      Do you think that UNC's current
 20           admissions process admits students who lack the
 21           academic preparation to succeed at UNC?
 22                    A.      I think the students we admit are
 23           students we're confident have the capacity to
 24           succeed at UNC.        I will say that, you know, as is
 25           in the case with all assessments of people and all

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   1          example, please?
   2                   A.       Well you just did, but go ahead.          I'm
   3          sorry.           I do think I just answered your question.
   4                   Q.       Is there any rule that requires -- that
   5          limits the use of race in the admissions process
   6          to students who, somewhere in their application,
   7          identify the effect that their race had on their
   8          experiences?
   9                                 MR. SCUDDER:   Object to form.
 10                    A.       I think I answered that question
 11           earlier.
 12                    Q.       Yeah, I'm asking you what it is now.
 13           Because I'm not sure I understand your answer.
 14                    A.       I'm sorry.   I -- I think I answered
 15           that.
 16                    Q.       Are you refusing to answer this question
 17           now, sir?
 18                    A.       I'm answering it by telling you that I
 19           think I already answered it.
 20                    Q.       So, can you say yes or no now?
 21                                  MR. SCUDDER:   Can you repeat the
 22           question, Patrick?
 23                    Q.       (Mr. Strawbridge)   Is there any rule,
 24           with respect to how UNC reads its admissions
 25           files, that limits its use of race only to those

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   1          students in -- whose applications describe some
   2          way in which how race affected them.
   3                   A.      As I said before, I think, no.
   4                   Q.      Is there a particular way in which you
   5          think a student's race necessarily has an effect
   6          on other people at this campus?
   7                   A.      You mean in every instance?
   8                   Q.      Yes.
   9                   A.      I -- I don't think I have a universal
 10           idea about how an individual student's race plays
 11           out on this campus.           No.
 12                    Q.      Okay.
 13                    A.      Thank you.
 14                            (EXHIBIT NUMBER 12 WAS MARKED)
 15                    Q.      This is Exhibit 12.
 16           (Witness examined document)
 17                    A.      Is there a particular part that you're
 18           wanting me to look at?
 19                    Q.      Let me just ask you now.     Are you
 20           familiar with polling with respect to the U.S.
 21           opinion with the use of race in college
 22           admissions?
 23                    A.      I've seen different reports about it
 24           over time.         Yes.
 25                    Q.      Are you familiar with the Gallup Pole

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